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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION
______________________________________________________________________________

ESTATE OF STEPHEN PAUL BOOHER; )
GLADYS F. BOOHER, Administrator,    )     Federal Case No. 4:17-cv-119
AND GLADYS F. BOOHER, Individually, )
                                    )
                        Plaintiffs, )
                                    )     JOINT STATUS REPORT
vs.                                 )
                                    )
STUART R. GLEN,                     )
                                    )
                        Defendant.  )
______________________________________________________________________________

       COME NOW the parties hereto, in and through their respective counsel, and for their

filing as styled above state to the Court as follows:

           1. On October 15, 2018, Magistrate Judge Stephen B. Jackson, Jr. entered a “Text

               Order For Joint Status Report” in the above-captioned matter.

           2. In his order, Judge Jackson provided that the joint report should be filed no later

               than January 7, 2019.

           3. The undersigned parties now jointly report that since the filing of the Joint Status

               Report on August 8, 2018, the following has occurred in the state court action

               known in Polk County Iowa District Court as Case No. CVCV054654:

                       August 11, 2018: Judge Vaudt entered her order denying Defendant
                        Boohers’ Motion for Summary Judgment and sustaining Plaintiff T.H.E.
                        Insurance Company’s Motion for Summary Judgment which was filed on
                        February 9, 2018, and the Amended Motion for Summary Judgment filed
                        on February 12, 2018. The effect of her ruling on both motions was to
                        deny any obligation of the carrier to defend and indemnify Defendant
                        Stuart r. Glen in the pending case;




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                     That Order was thereafter appealed in the Iowa Supreme Court on
                      September 6, 2018, by Defendants Booher in the state court action;

                     All proof briefs and the joint appendix have been filed in that State court
                      appeal (known as Case No. 18-1550). That matter is progressing on
                      appeal according to normal state appellate court deadlines;

          4. The state court appellate ruling will assist the parties in determining what course

              of action will be undertaken in this federal case proceeding.

Dated: January 7, 2019.

 WASKER, DORR, WIMMER &                           GREFE & SIDNEY, P.L.C.
 MARCOUILLER, P.C.

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 ATTORNEYS FOR PLAINTIFF ESTATE          ATTORNEYS FOR DEFENDANT
 OF STEPHEN PAUL BOOHER; GLADYS          STUART R. GLEN
 F. BOOHER, ADMINISTRATOR; AND
 GLADYS F. BOOHER, INDIVIDUALLY


Copy filed via CM/ECF.

Courtesy Copy via email to:                           CERTIFICATE OF SERVICE

Guy R. Cook                                     The undersigned hereby certifies that a true copy
                                                of the foregoing instrument was served upon each
Clark I. Mitchell                               of the attorneys of record for all parties to the
Adam D. Zenor                                   above-entitled cause by CM/ECF and by email
Grefe & Sidney, P.L.C.                          transmission at such attorney’s email address as
500 E. Court Ave., Ste. 200                     disclosed by the pleadings of record herein on the
Des Moines, IA 50309                            7th day of January 2019.
Emails: gcook@grefesidney.com
                                                By:         U.S. Mail              Facsimile
cmitchell@grefesidney.com                                   Hand Delivered         Overnight
azenor@#grefesidney.com                                   ☒ CM/ECF               ☒ Email
ATTORNEYS FOR DEFENDANT
                                                Signature /s/ Lori K. Techau
STUART R. GLEN




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